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                      EXHIBIT “C”
2012 Catalog
  Case                                                                    Customer
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                                                                                   _________________

                                                                  A Special Thank You
                                                                  For Our Customers
                                                           You, the customer, are most important to us.
                                                                  You are not dependent on us . . .
                                                                     we are dependent on you.
                                                                 You are doing us a favor by giving
                                                                      us the opportunity to be
                                                                       part of your business.



 Quality Products • Fair Prices • Outstanding Customer Service


        Be Active Be Comfortable




                    224 Rose Drive • Brunswick, Georgia 31520
         Call Toll-Free (800) 457-7648 or Fax Toll Free (800) 536-2017
                  or Call (912) 466-0022 or Fax (912) 466-9884
               rosecare@bellsouth.net • www.rose-healthcare.com
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   6                    Canes and Cane Accessories


 Derby Designer Wood Canes                                                Ergonomic-Pivot Walk Easy Cane NEW!
                                            • 36” length
                                            • 7/8” in diameter                                            • Unique design can be used on
                                            • Extra sturdy
                                                                                                            any surface and stair climbing
                                            • Six stylish choices
                                                                                                          • Ergonomic hand grip
                                            • Firm gripping, rubber tip
                                                                                                          • Large foot pad spreads weight
                                            #1106DP - Deal Pack                                           • Cane pivots for greater stability
                                            One Each Style                                                • Durable Steel construction
                                            (Canes may also be                                            • Adjusts from 33” to 37”
                                            ordered individually)                                         • Weight capacity 300 lbs.
                                                  HCPCS                                                    #1107 Ergonomic-Pivot
                                                  E0100
                                                                                                                     Walk Easy Cane



                                                                    Sit & Rise Cane
                                                                    • Adjustable aluminum cane (31-1/2” - 40-1/2”)
                         HCPCS                                      • Weight capacity - 250 lbs.
                         E0100                                      • Features two easy-grip foam handles -
                                                                      makes it easy to sit and rise.
                                                                    • Black or Bronze
                    #1
                         11                                                                                            NEW!
                                 4
                                     NEW!              Safety Cane Tip                          #1196 Sit & Rise Cane

                                                       • Easy to use-self standing
                   #1                                  • Fits any standard cane
                     11                                • Adds stability and confidence
                         3
                                                         to every step
                                                       • 3 1/4” rubber base
                                                       • 4 times the surface of a standard
                                                         cane tip
                   #1                                  • Adds more traction with less impact
                        11
                             2                         • Weighs only 5.5 ounces                        250 LB
                                                                                                       WEIGHT LIMIT
                                                       #1119 Safety Cane Tip
                   #1
                        11
                          1

Wood Laminated Canes                                      Rose Handy Seat
• 37˝ long, 7/8˝ width
                                                          & Walking Stick                                 Adjustable Cane Seat
                                                         • Lightweight durable anodized aluminum          • Light weight, durable aluminum
#1111 Walnut                                             • 34˝ tall, 21˝ seat height                      • Folds into a walking stick
                                                         • Folds flat and holds up to 250 lbs.
#1112 Rosewood                                           • Weighs 28 ounces                               • Overall weight: 2 lbs
#1113 Natural                                                                                             • Walking height: 34”-38”;
#1114 Ebony                                              #1085 Rose Handy Seat                              Sitting height: 18”-21”
                                                         #1085C Fleece Seat Cover                         • Seat dimensions: 8” x 10”
                                            #1085                                                         #1085B Adjustable Cane Seat


                    Toll free 800-457-7648 fax toll free 800-536-2017
